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   ATTACHMENT 1 to Defendant's Reply In Support of Motion to Strike
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                           Exhibit B
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                                                                                           Page 1
                                IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF TEXAS
                                           TYLER DIVISION

             TELEPHONE DEPOSITION OF YARON MENCZEL
             October 11, 2016

             LONESTAR TECHNOLOGICAL
             INNOVATIONS, LLC,                                         Civil Action No.
                                                                       6:15-cv-00973-JRG-JDL
                         Plaintiff,
                                                                            LEAD CASE
             v.                                                        JURY TRIAL DEMANDED
             ACER, INC. and
             ACER AMERICA CORPORATION,

                     Defendants.
             LONESTAR TECHNOLOGICAL
             INNOVATIONS, LLC,                                         Civil Action No.
                                                                       6:15-cv-00972-JRG-JDL
                         Plaintiff,
                                                                           CONSOLIDATED CASE
             v.                                                            JURY TRIAL DEMANDED

             SHARP ELECTRONICS
             CORPORATION,
                     Defendant.

                     Pursuant to Notice and the Federal Rules of
                     Civil
             Procedure, the telephone deposition of YARON MENCZEL,
             taken by the Acer Defendant, was held at 1400 Wewatta
             Street, Suite 600, Denver, Colorado, 80202, on
             Tuesday, October 11, 2016, at 9:03 a.m., before Jason
             T. Meadors, RPR, CRR, CRC, and Notary Public.
             ____________________________________________________
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                                                                                           Page 2
        1                 APPEARANCES
        2    JOHN LEE (by telephone)
        3    Banie & Ishimoto LLP
        4    3705 Haven Avenue, Suite 137
        5    Menlo Park, California 94025
        6    (650)241-2771
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        8

        9    MICHAEL TING (by telephone)
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             Denver, Colorado 80202
       18    (303)405-1488
                   For the Sharp Electronics Defendant
       19

             Also Present:
       20         Ken Fung (by telephone)
       21

       22




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                                                                                            Page 4
        1                                           YARON MENCZEL,

        2    having been first duly sworn to state the whole truth,

        3    was examined and testified as follows:

        4                                             EXAMINATION BY MR. TING:

        5            Q       Good evening for you, Dr. Menczel.                           How are

        6    you doing?

        7            A       Good.        Thank you.

        8            Q       Before we begin, how do I pronounce your

        9    last name?

       10            A       Menczel.

       11            Q       Menczel?

       12            A       Yeah.        Good.

       13            Q       Okay.        Good.       So can you please state your

       14    complete name for the record?

       15            A       Dr. Yaron Menczel.

       16            Q       Okay.        And I understand that you're located

       17    in Israel today; is that correct?

       18            A       That is correct.

       19            Q       Are you an Israeli citizen?

       20            A       I am.

       21            Q       Are you also a U.S. citizen?

       22            A       I am so.



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                                                                                          Page 54
        1    done to formalize the step 9 of the patent, which is

        2    the formula. The CR of the output is equal to the

        3    summation of V1 times LUT 1 of the input number plus

        4    UL times LUT2 of the 1 input CB by W1.                               Similarly, the

        5    output CB is equal to the summation of V2, LUT3 of

        6    input CR out by U2, U2, LUT4, input CB to W2.                                Being

        7    C, these formulas that they put 14, you get 42.

        8            Q       Okay.        Let's use -- let's discuss -- let's

        9    use look-up table 1 as an example.                            Look-up table 1 as

       10    discussed in the '012 Patent will receive a particular

       11    input color component; is that correct?

       12            A       Yes.

       13            Q       That is the input to look-up table 1,

       14    correct?

       15            A       Yeah.        If it's here. . .

       16            Q       And the output of look-up table 1 will be a

       17    particular color component; is that correct?

       18            A       No.      It will be --

       19            Q       What is the output --

       20            A       This is some kind of permitted number to be

       21    used in a complex formula.

       22            Q       Okay.        So your position is that the output



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                                                                                              Page 55
        1    of look-up table 1 is not a particular color
        2    component.
        3            A        Correct.
        4            Q        Okay.       Does look-up table 1 provide a
        5    specific output based on a specific input?
        6            A        Correct.
        7            Q        That is correct?
        8            A        Yeah.       It has nothing to do with colors.
        9    The input is colors.                  The output is not colors.
       10            Q        Okay.       But for any given input, there will
       11    be a specific output, a single -- sorry.                                     Let me
       12    rephrase.
       13                     For any given input to look-up table 1,
       14    there will be a single and specific output; is that
       15    correct?
       16            A        Correct.
       17            Q        Okay.       Now, is that true for look-up tables
       18    2, 3, and 4 as well?
       19            A        Correct.
       20            Q        Okay.       Could you take a look at paragraph
       21    21.
       22            A        I do.



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                                                                                          Page 56
        1            Q       Okay.        So you state the four look-up tables

        2    that contain complex formulas far exceed simply

        3    mapping an input color to an output individual color,

        4    correct?

        5            A       Correct.

        6            Q       Okay.        But do you agree with Dr. Richardson

        7    that the function of the look-up tables ultimately is

        8    to map an input color to an output individual color?

        9            A       No.

       10                    MR. LEE:          Objection.           Form.

       11            A       To say that something is used in the middle

       12    of a process doesn't mean it's the process.

       13            Q       (By Mr. Ting)              Okay.       But the look-up tables

       14    are used to map an input color to an output individual

       15    color, correct?

       16            A       In a complex way.

       17            Q       Sorry.        Could you repeat that last question?

       18            A       In a very complex way.

       19            Q       In a complex way.                 But it is mapping input

       20    color to an output individual color, correct?

       21            A       The only -- my car is used to drive it.                            In

       22    that particular way.                 Now there is LUTs in the



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                                                                                          Page 57
        1    process.        That is the point of my answer.

        2            Q       I'm sorry.           Can you repeat that last answer?

        3            A       There is only in my answer -- somehow used

        4    for my -- driving my car.

        5            Q       Could we go with that one more time?                          The

        6    reporter didn't get it.

        7            A       I said the LUTs are used in the process but

        8    a very complex way.

        9            Q       The LUTs are used --

       10            A       And I give an example that a car engine has

       11    oil. It is used as part of the driving -- the part of

       12    making the car drive.                  It's complicated how it -- how

       13    the oil comes in, how the car moves.                              Similarly, these

       14    two pieces.            They do not map color to output

       15    individual color.               They are used in the process.

       16            Q       (By Mr. Ting)              Okay.       So is it fair to say

       17    that the four look-up tables, look-up tables 1 through

       18    4, they utilize complex formulas in order to map an

       19    input color to an output individual color; is that

       20    correct?

       21            A       Not -- no, it's not correct.

       22            Q       What's incorrect about that?



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                                                                                              Page 58
        1            A       They are used in the process, but they don't

        2    do mapping of input color to an output individual

        3    color.

        4            Q       And why don't they do mapping?

        5            A       As I said, it's a formalized step 9.                              The

        6    formula of step 9 says how exactly the output colors

        7    are decided. For instance, there is a color V1 which

        8    totally changes it. Without V1, you do not have a

        9    color.       So you cannot say that the four LUTs are used

       10    to give you a color.

       11                    If you don't know the V1, U1, W1, V2, U2,

       12    W2, you cannot get an output color.                             So it's wrong to

       13    say it's a mapping from one color to color, because

       14    it's not correct. There are other things.                                    I give the

       15    example of the engine. There is oil and there is gas.

       16    Another thing.             I sure there's 20 pistons.                        But there

       17    are a lot of things that make the engine work.

       18                    There are a lot of things that make the

       19    output individual color happen, the four LUTs happen

       20    to be one of them, not the entire stuff.

       21            Q       Okay.        So where does color -- where does V1

       22    come from?



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                                                                                           Page 59
        1             A       Constant.

        2             Q       Did you say constant?

        3             A       Uh-huh.

        4             Q       So is it fair to say that inputting a color

        5     into the look-up tables will result in an output of a

        6     single and specific individual color?

        7             A       No.

        8             Q       And is that because of the complex formulas

        9     you discussed?

       10             A       Correct.

       11             Q       And is it your opinion that the complex

       12     formulas are a part of the look-up tables?

       13             A       No.      Look-up table are used as part of the

       14     formulas.         Not the other way around.

       15             Q       Okay.        So the look-up tables are involved in

       16     helping to map an input color to an output individual

       17     color, correct?

       18             A       That's correct.

       19             Q       All right.           So turning now to your

       20     declaration, if you can turn to page 7 of your

       21     declaration.

       22             A       Yeah.



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                                                                                           Page 60
        1             Q       Okay.        So let me backtrack real quick.                     So

        2     take a look at paragraph 21.

        3             A       I'm there.

        4             Q       You state the four look-up tables, LUT1

        5     through LUT4, that contain complex formulas far exceed

        6     simply mapping an input color to an output individual

        7     color.       Do you see that?

        8             A       I see it.

        9             Q       So when you state that the four look-up

       10     tables contain complex formulas, was that an incorrect

       11     statement?

       12             A       It could -- now, it is a correct statement,

       13     but it's not the entire statement, because they're

       14     used in a complex formula.                      If I --

       15             Q       Okay.        So --

       16             A       I'll rewrite it a little differently because

       17     they're used in -- the correct -- contain the correct

       18     formula, but they're always used in complex formulas.

       19     So I'm basically looking at 21.

       20             Q       So can you just give me the full sentence

       21     how you would rewrite it?

       22                     MR. LEE:          Objection.           Form.



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                                                                                           Page 63
        1             Q       And you're referencing paragraph 26,

        2     correct, for the citation?

        3             A       Yes.

        4             Q       Okay.        So this is the -- the only use of

        5     specification support for your alternate construction

        6     are the citations in paragraph 23 and paragraph 26,

        7     correct?

        8                     MR. LEE:          Objection.           Form.

        9             Q       (By Mr. Ting)              Dr. Menczel, is that correct?

       10             A       Correct.

       11             Q       Can you please turn to paragraph 26.

       12             A       I'm there.

       13             Q       Do you see in the middle of paragraph 26

       14     where you write:              But, Dr. Richardson's analysis is

       15     erroneous because a portion of the specification cited

       16     by Dr. Richardson concerns a nonlimiting, preferred

       17     embodiment, the YCBCR color space.                            Do you see that?

       18             A       I do.

       19             Q       What do you mean by "nonlimiting preferred

       20     embodiment"?

       21             A       Specification, as I understand them, I'm not

       22     a lawyer, give examples of how to make the -- how to



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                                                                                           Page 64
        1     make the method.              Specific way to make the methods.

        2     But there can be many of them.                         We do not have to --

        3     we do not have to list or enumerate every possible way

        4     of implementing the method. So this one is the method

        5     of embodiment, probably preferred, but definitely not

        6     limited.        There may be others.

        7             Q       Okay.        Now, you do not identify anywhere in

        8     the '012 Patent where the specification describes how

        9     the method of the present invention is applicable to

       10     other formats other than the YCBCR color space; is

       11     that correct?

       12                     MR. LEE:          Objection.           Form.

       13             A       I think you are right.                     It's only described

       14     in the YCBCR.

       15             Q       (By Mr. Ting)              Okay.       So is it fair to say

       16     that the '012 Patent specification only teaches a

       17     person of ordinary skill in the art how to implement

       18     its method in the YCBCR color space; is that correct?

       19                     MR. LEE:          Objection.           Form.

       20             A       It's an example, but it says -- and I would

       21     say, that the method of the pertinent invention is

       22     applicable to other formats.



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                                                                                           Page 65
        1             Q       (By Mr. Ting)              Right.        It states that the

        2     method of the present invention is applicable to other

        3     formats, but it doesn't actually teach how the method

        4     would be implemented in other formats; is that

        5     correct?

        6                     MR. LEE:          Objection.           Form.

        7             A       I guess, but you know, there are many

        8     formats. There could be more than a thousand formats.

        9     You do not expect to match specification with every

       10     possible format.

       11             Q       (By Mr. Ting)              Okay.       But in this particular

       12     instance, the only format that the patent teaches how

       13     to implement -- let me rephrase the question.

       14                     But the '012 Patent only teaches how to

       15                     implement

       16     its method in the YCBCR color space, correct?

       17                     MR. LEE:          Objection.           Form.

       18             A       It gives an embodiment in the YCBCR color

       19     space.

       20             Q       (By Mr. Ting)              Okay.       And there's no other

       21     embodiments about any other color spaces, correct?

       22             A       Correct.



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                                                                                           Page 66
        1             Q       Okay.        And the patent does not actually

        2     describe how the method is to be applied to other

        3     formats, correct?

        4             A       It doesn't give an embodiment in other

        5     formats.

        6             Q       Okay.        So it does not have that description,

        7     correct?

        8             A       For -- there's no embodiment for other

        9     formats.

       10             Q       Okay.        And nowhere in your declaration do

       11     you explain how the patented method would be

       12     applicable to other formats, correct?

       13             A       I would not -- this is not part of the term

       14     construction.

       15             Q       Okay.        So the answer is no, correct?

       16             A       Correct.

       17             Q       Okay.        Now, the term chromatic components.

       18     That's not limited to the YCBCR color space; is that

       19     correct?

       20             A       No.      It's not limited.

       21             Q       Okay.        So, for example, are you familiar

       22     with YUB, the YUB color space?



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                                                                                           Page 67
        1             A       Yes.

        2             Q       And you understand that chromatic components

        3     are used to refer to the UB portion of YUB, correct?

        4             A       Correct.

        5             Q       And are you also familiar with the YIQ color

        6     space?

        7             A       I do.

        8             Q       And the term chromatic components refers to

        9     the IQ portion of YIQ; is that correct?

       10             A       Correct.

       11             Q       Okay.        So your only disagreement with the

       12     defendant's proposed construction is because you

       13     believe that defendant's and Dr. Richardson are only

       14     analyzing one embodiment in the patent; is that

       15     correct?

       16                     MR. LEE:          Objection.           Form.

       17             A       That -- they are making a conclusion based

       18     on the fact there is only one embodiment of YCBCR to

       19     define many -- the get a conclusion that simply works.

       20             Q       (By Mr. Ting)              Okay.       Now, Dr. Richardson's

       21     analysis of this claim term is correct for that

       22     embodiment that discusses the -- that you refer to as



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                                                                                            Page 68
        1     the YCBCR color space embodiment, correct?

        2             A       But the specification is not on that -- is

        3     not on that color space.                     The specification is general

        4     for every color space.                   So the question is -- is

        5     irrelevant.

        6             Q       Okay.        Whether -- regardless of whether you

        7     believe my question is irrelevant, is Dr. Richardson's

        8     analysis of this claim term correct for the one

        9     embodiment that is disclosed?

       10                     MR. LEE:          Objection.           Form.

       11             A       We're not doing a claim on one embodiment.

       12             Q       (By Mr. Ting)              Okay.       So in your

       13     declaration, you do not dispute that Dr. Richardson's

       14     analysis is correct for that one embodiment.                                 Is that

       15     correct?

       16             A       I dispute it.

       17             Q       Why do you dispute that his analysis

       18     incorrect for that one embodiment?

       19             A       Because he put words into the claim that are

       20     not good.         Like he used the word chromatic components.

       21       It's not part of the claim.

       22             Q       So you believe that his construction and his



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                                                                                           Page 69
        1     opinions are incorrect because he's using words that

        2     are not part of the claim; is that correct?

        3                     MR. LEE:          Objection.           Form.

        4             A       He used, in his construction, the word

        5     chromatic component.                 There is no reason to put it in.

        6             Q       (By Mr. Ting)              Okay.       Do you see the

        7     sentence in the middle of paragraph 26 where you

        8     write:       But the specification is explicit that patent

        9     claims applies to many formats, not just formats that

       10     Dr. Richardson seeks to import, followed by a

       11     quotation to the '012 Patent.                        Do you see that?

       12             A       Uh-huh.

       13             Q       Okay.        What do you mean by formats Dr.

       14     Richardson seems to import?

       15             A       He's trying, I believe, to import a

       16     limitation into the claim that is -- basically are not

       17     good.

       18             Q       And you believe that the -- sorry, what is

       19     the basis -- what is the language that he uses that

       20     you believe is importing other formats?

       21                     MR. LEE:          Objection.           Form.

       22             A       It's chromatic components.



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                                                                                               Page 70
        1             Q       (By Mr. Ting)              Okay.

        2             A       The chromatic components.

        3             Q       So chromatic components, correct?

        4             A       Yes.

        5             Q       Can you please turn to paragraph 28 of your

        6     declaration.           This is on page 8 under subsection C for

        7     the claim term, color control parameters.                                    Do you see

        8     that?

        9             A       I do.

       10             Q       Okay.        Paragraph 28 through 33 contain the

       11     entire sum of your opinions regarding this term; is

       12     that correct?

       13             A       Correct.

       14             Q       Okay.        What is your definition of the term

       15     parameter?

       16             A       We look in the dictionary, so I believe the

       17     dictionary, I looked before, and it says a program

       18     that is given a constant value for a specified

       19     limitation.

       20             Q       Okay.        So in offering your opinion regarding

       21     the construction of color control parameters, you took

       22     the term and looked it up in a dictionary, correct?



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                                                                                           Page 71
        1             A       Correct.

        2             Q       And that's all you did, correct, you went to

        3     the dictionary and looked up the term?

        4             A       For the claim, the word color control

        5     parameter is self-understood by a person of ordinary

        6     skill in the art. And if it's needed, then I would

        7     look the word -- I tried to look for color control

        8     parameter.          I couldn't find it.                  I found parameter and

        9     this is the value I got for parameter.

       10             Q       Okay.        So to -- sorry.

       11                     Okay.        So to analyze this claim term, you

       12                     simply

       13     took the claim term and tried to look it up in the new

       14     IEEE Standard Dictionary of Electrical and Electronic

       15     Terms, Fifth Edition, 1993, correct?

       16                     MR. LEE:          Objection.           Form.

       17             Q       (By Mr. Ting)              Is that correct, Dr. Menczel?

       18             A       I said yes.

       19             Q       Okay.        So can you please take a look at

       20     paragraph 30.            So in paragraph 30, you are relying on

       21     the arguments you previously made -- let me rephrase

       22     that.



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                                                                                           Page 72
        1                     Do you see in paragraph 30 where you said,

        2     Earlier, I explained how Dr. Richardson attempts to

        3     limit claim terms to YCBCR color space, which is

        4     erroneous?

        5             A       I do.

        6             Q       When you say "earlier," what are you

        7     referring to?

        8             A       The section before, about color component

        9     functions.          Yes.      Section B.

       10             Q       Okay.        So just to clarify, you're referring

       11     to your -- the opinions you offered in section B,

       12     individual color control functions, correct?

       13             A       Yes.

       14             Q       So you have nothing in addition to add

       15     beyond that for -- for this term, correct?

       16                     MR. LEE:          Objection.           Form.

       17             A       No, I also say part of 31.                        Previously, I

       18     have already explained the look-up table do not merely

       19     contain color input and color output mapping.

       20             Q       (By Mr. Ting)              Okay.       So let me rephrase my

       21     question.

       22                     So when you say, Earlier, I explained how



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                                                                                           Page 77
        1             Q       Okay.        So when we're discussing viewer,

        2     we're discussing viewer as it's used in claim 17 of

        3     the '012 Patent, correct?

        4             A       Correct.

        5             Q       Now, can you take a look at claim 17 of the

        6     '012 Patent?

        7                     MR. LEE:          '435.

        8             Q       (By Mr. Ting)              I'm sorry, the '435 Patent?

        9     Claim 17 of the '435 Patent?

       10             A       Hold on.          '435.

       11             Q       The '435 Patent, for the record, is Exhibit

       12     4. And let me know when you're at claim 17 of the '435

       13     Patent.

       14             A       I'm there.

       15             Q       Okay.        Now, you state that a person -- that

       16     one of ordinary skill in the art would understand the

       17     meaning of the term viewer; is that correct?

       18             A       Correct.

       19             Q       What would a person of ordinary skill in the

       20     art understand the term viewer to mean?

       21             A       Exactly what it says.

       22             Q       But -- but if I was going to ask you to tell



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                                                                                           Page 78
        1     me what the viewer is, what would you say?

        2             A       Somebody that views.

        3             Q       Did you say somebody that views?

        4             A       Uh-huh.

        5             Q       So a person that views, correct?

        6             A       Correct.

        7                     MR. TING:           So why don't we take a break.                   I

        8             just want to check my notes.                         I believe I'm ready

        9             to pass the witness.                  Let me just confirm.              Can

       10             we --

       11                     Matt, do we want to take a longer break to

       12             let you get ready to take over?

       13                     MR. HOLOHAN:             I think we can just do five

       14             minutes. Unless the witness wants longer.

       15                     MR. LEE:          Dr. Menczel, would you like

       16             longer?

       17                     THE WITNESS:             Maybe 10, a little longer.

       18                     MR. TING:           Okay.       Let's do 10 minutes.

       19                     MR. LEE:          Quick question.               Are we getting

       20             close to being done on your end?                            I just know

       21             that he's about eight hours ahead of you guys.

       22             This is for Matt.



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                                                                                             Page 79
        1                      MR. HOLOHAN:             I think --
        2                      MR. TING:          Yeah, I'm 99 percent certain for
        3             Acer that I'm done, so, Matt, I don't know how
        4             long you had planned.
        5                      MR. HOLOHAN:             I think my questioning will
        6             take an hour at the very longest.                              Most likely
        7             less than that.
        8                      MR. LEE:          Thank you.           I appreciate it.
        9             Let's take a ten-minute break.
       10                      THE WITNESS:             Okay.
       11                      (Recess from 11:15 a.m. to 11:25 a.m.)
       12                      MR. TING:          This is Michael Ting.                    I will
       13             pass the witness to Matt Holohan.
       14                      MR. LEE:          And Doctor, you're back?
       15                      THE WITNESS:             I'm back, yes.
       16                                               EXAMINATION BY MR. HOLOHAN:
       17             Q        All right.           Good evening, Dr. Menczel.                    My
       18     name is Matt Holohan.                   I'm representing Sharp
       19     Electronics Corporation.                     I have a few more questions
       20     about some of the other terms that Acer's counsel did
       21     not ask you about.
       22                      I'm going to be jumping around a little bit



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                                                                                           Page 86
        1     regular red.

        2             Q       (By Mr. Holohan)                Okay.        So focusing on

        3     defendant's proposed alternate construction for

        4     individual color, which is the linear combination of

        5     base colors, you're saying that even if you were to

        6     define a color at a specific linear combination --

        7     actually, strike that question.

        8                     You say, in the regular world, a color

        9                     defined as

       10     a linear combination of base colors would still be a

       11     range of colors.              But in the digital world, you could

       12     actually express a color as a specific linear

       13     combination of base colors, right?

       14                     MR. LEE:          Objection.           Form.

       15             A       Again, the issue here was that the -- and

       16     the defendant inventor, and the defendant used the

       17     word "specific."              That was the example that was given.

       18       The fire engine red.

       19                     Okay.        We take out the words "specific" in

       20     the definition, because the definition is not -- in

       21     the second part, with the linear combination of color

       22     components, such as red, green, blue, yellow, cayenne,



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                                                                                             Page 87
        1     and magenta, it's fine.                    We'll even be on the same

        2     combinations, but other -- other than that, we're

        3     saying the same thing.                   The issue here is, specific or

        4     not specific.

        5             Q       (By Mr. Holohan)                Okay.        So the only --

        6             A       And my chosen words of fire engine red, is

        7     probably not the best picture of it.

        8             Q       Okay.        So your objection to defendant's

        9     proposed construction is just the use of the word

       10     "specific."            Is that accurate?

       11             A       Yes.

       12             Q       Okay.

       13             A       And -- and component.                    Still a component.

       14     Because as you say, it's particular for the

       15     definition, the specification, that it says component.

       16                     So I say -- I'm going to say, linear

       17     combination; could be I meant combinations.                                  Not

       18     component.          Component is in both -- both

       19     constructions.

       20             Q       Okay.        So --

       21             A       The combination --

       22             Q       So you say that an individual color needs to



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                                                                                           Page 88
        1     be combinations, plural, not a linear combination.

        2             A       Yes, exactly.

        3             Q       Okay.        But in the specification cites that I

        4     just read to you, in column 1 of each patent, it just

        5     says, A linear combination of colors or color

        6     components, right?

        7             A       Let me see.            Certain linear combination,

        8     singular, yes.

        9             Q       Okay.        Can you please -- if you look at

       10     pages 13 and 14 of your declaration, can you just tell

       11     me where those images that you reproduced in your

       12     declaration came from?

       13             A       Two of them -- two of them.                         Took them both

       14     out to be -- talking about the color spectrum.

       15             Q       Yes.

       16             A       The general note.                 They're coming from the

       17     Internet.

       18             Q       Okay.        You just found them on the Internet?

       19             A       Yes.

       20             Q       All right.           And when you talk about, in

       21     paragraph 42, the six corners of the RGB cube, each

       22     one of those corners can be defined as a linear



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                                                                                               Page 93
        1             A       Which are red, blue, yellow, magenta, and

        2     cayenne.

        3             Q       Right.        So red, green, blue, yellow --

        4             A       And here they use the word, linear

        5     combinations, plural.

        6             Q       Okay.        So I just want to clarify something.

        7                     So it says the individual color components

        8                     are

        9     red, green, blue, yellow, magenta, and cayenne, and

       10     those have the 255 saturation values, right?

       11             A       Yes.

       12             Q       So is an individual color the same as an

       13     individual color component?

       14                     MR. LEE:          Objection.           Form.

       15             A       It says in the one you quoted, Color one,

       16     herein, and it's '012 patent, in line 19 through 24,

       17     herein, and the blue color, present the linear

       18     combination of colors or color component.                                    Which from

       19     that, my understanding, they're the same thing.

       20             Q       (By Mr. Holohan)                Okay.        And then in

       21     paragraphs 45 to 49, you talk about equations and the

       22     '435 Patent and also adjusts the color components red,



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                                                                                           Page 94
        1     green, and blue, right?

        2             A       From cayenne and magenta and yellow.

        3             Q       Okay.        But it's color components that are

        4     being adjusted in those equations, right?

        5             A       It says color blue.

        6             Q       Color what?

        7             A       For limiting it. . . when I -- if we go to

        8     the '435, I'm sure we visit the word color component,

        9     and it says -- after. . . it says, Identify each input

       10     image picture having red, R, as the original color

       11     whose hue or saturation was selected to be

       12     independently changed.                   So I don't see the word

       13     "component" here.

       14             Q       Right.        But if we -- in the '012 Patent,

       15     red, green, and blue, yellow, cayenne, and magenta

       16     were individual color components and it's those same

       17     -- the same colors that are being manipulated in the

       18     '435 Patent in the specification cites you're

       19     reporting to, correct?

       20             A       Yeah --

       21                     MR. LEE:          Objection.           Form.

       22             A       -- I think you need to change the word



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                                                                                           Page 95
        1     "component" for "color" for the words there.

        2             Q       (By Mr. Holohan)                I'm sorry.           Say that

        3     again?

        4             A       I think you need to change the word "color"

        5     for "color component" in both patents.

        6             Q       So your view is the color and color

        7     component are interchangeable in the patents?

        8             A       Yes.

        9             Q       Okay.

       10             A       Yes.

       11             Q       Do you agree that the term "individual

       12     color" should have the same meaning in both the '012

       13     and the '435 Patents?

       14             A       Yes.

       15             Q       Okay.        If you could turn back a few pages to

       16     page 10 of your declaration.                        I want to talk about the

       17     term, Whereby all other colors of the digital video

       18     input image remain unchanged.

       19                     Now, the defendant's proposed construction

       20     is, Whereby all other pixels of the digital video

       21     input image without the same color component values

       22     remain unchanged. In your opinion, is that the term



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                                                                                           Page 96
        1     should be given its plain and ordinary meaning, or

        2     alternatively, whereby all colors of the digital video

        3     input image without the same color component values

        4     remain unchanged.               So would you agree with me that the

        5     -- the disagreement between the parties here is the

        6     use of the word pixels as opposed to colors?

        7             A       I think so, yeah.

        8             Q       Now, in digital video image, colors are

        9     expressed as pixels, right?

       10             A       No.

       11             Q       How is that incorrect?

       12             A       Colors are attributes of pixels.

       13             Q       Colors are?

       14             A       Attributes of pixels.

       15             Q       Attributes of pixels.                    What other attributes

       16     of pixels are there besides color?

       17             A       Luminance.

       18             Q       Okay.        Anything else?

       19             A       Colors.         Luminance.           I guess the pixels

       20     themselves, by the resolution and depth of field, also

       21     do express something.

       22             Q       Okay.        But --



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                                                                                           Page 97
        1             A       And the number of them and how big they are

        2     and other expressions.

        3             Q       Okay.        Is there any way in digital video, in

        4     a digital video image, that a color would be expressed

        5     other than using a pixel to express the color?

        6             A       Colors appear in an attribute of pixels.

        7             Q       Right.        So if the --

        8             A       The perception you get is after you look at

        9     many pixels, you get a perception of color.

       10             Q       All right.           So if -- if --

       11             A       But, again, the colors are not pixels --

       12     you're putting words in the claim that is not really

       13     there.       The claim they write -- to use the word

       14     "pixel" is included.                 He uses the word pixel other

       15     places in the claim.

       16             Q       Right.        So --

       17             A       If he wants to put there -- yes.

       18             Q       If you're changing a color in a video

       19     display, what you're doing is changing the pixels that

       20     are expressing that color, right?

       21             A       If you -- that -- the implementation may use

       22     color pixels.            But that's implementation only.



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                                                                                           Page 98
        1             Q        That's implementation only?
        2             A        Yeah.       The document, this implementation,
        3     shows you how to take bits, because you have pixels,
        4     and change them, either by look-up table or directly,
        5     depends in the patent that we are talking.
        6             Q        What other implementations are there that
        7     would allow to you change colors without changing
        8     pixels?
        9             A        There -- there may be.                      There may not be.
       10     But that's not the issue.                      The issue is what remains
       11     in this construction.                   The construction is, other
       12     colors in the digital video input image remain the
       13     same.       We didn't say pixels remain the same.                            We said
       14     colors remain the same. That's one.                              I gave you
       15     another one.            It's luminance.               It can make a
       16     difference here.
       17             Q        Okay.       But you're not able to identify any
       18     implementations in which you could change colors
       19     without changing pixels.                     Is that fair to say?
       20                      MR. LEE:          Objection.           Form.
       21             A        Say it again.              If you, what, if you like
       22     pixels, you may change -- you may change and not



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                                                                                           Page 99
        1     change luminance. And here, we're not talking about

        2     luminance.          We're talking about colors.

        3             Q       (By Mr. Holohan)                But if you are changing

        4     colors, you are changing pixels, right?

        5             A       A way to implement it is by changing pixels.

        6             Q       And you're not able to --

        7             A       But that -- but the method is here that you

        8     are not changing other colors.                         Not other pixels.           An

        9     example, if you change a pixel and you leave the color

       10     as is, but you change the luminance, the pixel has

       11     changed, and the color hasn't changed.                               Okay?   In your

       12     definition, you -- you took this as a subset of the

       13     method.       And that's -- of the claim, and that's not

       14     what the claim record indicated.

       15             Q       I understand you can change pixels without

       16     changing colors.              But when I'm trying to clarify that,

       17     and I don't think we're in disagreement on this, is

       18     that you cannot change colors without changing pixels.

       19       Is that accurate?

       20             A       Okay.        But that -- maybe.                 But that's not

       21     what you're saying.                 You're saying all other pixels of

       22     the video input image without the same color component



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                                                                                           Page 106
        1     color orange be affected?

        2                     MR. LEE:          Objection.           Form.

        3             A       Only the colors -- only colors -- only the

        4     red color will be affected.

        5             Q       (By Mr. Holohan)                But --

        6             A       Any other color would not be affected.

        7             Q       But orange --

        8             A       And when you say "other," you have to be

        9     very careful how to decide -- how they decide each

       10     color.       Okay? If the orange is not defined as a red,

       11     then it will not be affected.

       12             Q       Okay.        So if I defined -- if I define --

       13     okay.

       14                     So the color orange has red as a component,

       15     right?

       16             A       But it -- has not -- every color might have

       17     red as a -- as a base vector that measures into the

       18     combination. The bottom thing is, is how the linear

       19     combinations are defined.

       20             Q       Okay.        So if the color orange in a video

       21     display is defined such that it has a red component in

       22     it, okay?



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                                                                                            Page 107
        1             A       Again, not -- not the implementation.

        2             Q       Not what?

        3             A       If, bearing to the issue, if we define the

        4     colors as -- can be one color is orange -- is red, and

        5     then define in explicit, nonmutual color as orange,

        6     then the orange will not be affected.                               If the orange

        7     happened to be part of the red, then the orange will

        8     be affected.           It's all -- all depends on the

        9     definitions in what color is for every color.

       10             Q       Right.        So that's what I'm asking.                     If you

       11     have a display implemented in such a way that orange

       12     is -- that orange includes red as a component --

       13             A       It's not a matter of a component.                            It a

       14     matter of how far you define the spectrum of red to

       15     include, to go far enough, and you contain the orange

       16     in red, the orange is part of the red.                               It's a method

       17     of definition.             It's up to the inventor to define each

       18     color, what it is.                That's why I was so careful to say

       19     colors and not pixels.

       20             Q       Okay.        So it's possible to implement the

       21     '012 Patent in a way where the definition of red

       22     includes orange. So if I adjust red, I'm also



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                                                                                              Page 108
        1     adjusting orange.               Is that accurate?

        2                     MR. LEE:          Object to form.

        3             A       If -- if you define red that is very wide,

        4     define the orange as colors, then that's -- that's

        5     omitted, yeah.

        6             Q       (By Mr. Holohan)                Then that's what?

        7             A       That's what it implies.

        8             Q       And that implementation would fall within

        9     the '012 Patent, right?

       10             A       Yes.       Because the patent '012 or '435 do not

       11     give the way to how to divide the colors.                                    Where is

       12     the line.

       13             Q       Okay.        All right.           So I want to skip over to

       14     page 20 of your declaration, where you talk about the

       15     term, Without affecting the hue or saturation of any

       16     other individual color.                    Let me know when you have

       17     that in front of you.

       18             A       I do.

       19             Q       Okay.

       20             A       I think we should take a break -- take a

       21     break by now because it's an hour.

       22                     MR. HOLOHAN:             Okay.       That's fine.             I thought



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                                                                                           Page 109
        1             I would get this done in an hour, but looks like

        2             I have another 20 minutes or so.                            So we can take

        3             a five-minute break.

        4                     THE WITNESS:             Okay.

        5                     (Recess from 12:11 p.m. to 12:20 p.m.)

        6                     MR. HOLOHAN:             All right.           Let's go back on.

        7             Q       (By Mr. Holohan)                Dr. Menczel, just talking

        8     briefly about the claim of limitation.                               Without

        9     affecting the hue or the saturation of any other

       10     individual color which is from the '435 Patent,

       11     similar to the '012 Patent, the term you were just

       12     talking about, could I construct a system, according

       13     to the '435 Patent, where the color red is defined

       14     such that if I adjust the hue of red, I will also

       15     adjust the hue of orange?

       16                     MR. LEE:          Object to form.

       17             A       Exactly as we said before.                        If orange will

       18     be defined as part of red in the perception and the

       19     way you define the parameters in the '435 Patent, then

       20     obviously when you change the color red as -- the

       21     color that looks to you particularly orange will also

       22     be affected.



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                                                                                           Page 117
        1             Q       Let me just ask.

        2             A       Dr. Richardson is saying it's not -- it's

        3     not teaching us what the acceptable range will be.

        4     Okay?       So he's saying, it can be anything from a

        5     single integer.              He doesn't really get to the point

        6     that we're talking about a range.                            He said, Single

        7     integer to an infinite number within this -- he didn't

        8     say boundaries.              That was the problem with his

        9     definition.

       10             Q       So does the patent give boundaries?

       11             A       He could have written -- could be anything

       12     from an integer, one single integer to another.                                 So

       13     from one integer to another integer, where each

       14     integer can be a single integer to an infinite number

       15     to -- no, any -- so where each integer can be of

       16     single value, with zero value, to an infinite value,

       17     then I may agree.               It's -- he's talking about a

       18     number.       He's talking single integer.                          He's talking

       19     about infinite number of integers.                            He's not talking

       20     about the range.

       21             Q       Okay.        So when you say a range of integers,

       22     would you agree that when the patent says -- the '435



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                                                                                           Page 118
        1     Patent says arbitrary interval with integers, that

        2     could be a range of zero to an infinite number of

        3     integers?

        4                     MR. LEE:          Objection.           Form.

        5             A       I don't understand what infinite number of

        6     integers means.              I know integer has a value of

        7     infinite.         I don't understand what an infinite number

        8     of integers in this context means.

        9             Q       (By Mr. Holohan)                Well, let me ask you:              In

       10     your opinion, what is the upper limit on the range of

       11     the interval of integers in the '435 Patent?

       12             A       Arbitrary.

       13             Q       So there's no upward limit on what the range

       14     could be.

       15             A       Yes.

       16             Q       And it could be a -- it could be as small as

       17     one integer or two, right?

       18             A       Again, the range -- you're talking about the

       19     range size.

       20             Q       Yes.

       21             A       Okay.        He didn't say the word "range size."

       22             Q       I'm asking for your opinion.                         How small can



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                                                                                           Page 119
        1     the range be?            Can it be one integer?

        2             A       Again, it could -- it's designed in whole

        3     numbers. That's why he used the word "integers" here,

        4     and it can be any number between zero to any arbitrary

        5     number you want.

        6             Q       Okay.

        7             A       The size of the range.

        8             Q       Okay.        Why do you say that the interval

        9     between minus 1 and plus 1 in claim 6 of the '435

       10     Patent contemplates fractions?

       11             A       Because that's how it appears in the patent.

       12       If you look at the formula that he uses in '435, he

       13     uses numbers between minus 1 and plus 1.

       14             Q       Where in the '435 Patent are you looking for

       15     that?

       16             A       As an example, if you look at column 13.

       17     Okay? Where he defined the value HR.                              The value of HR

       18     is defined, I believe, internally between minus 1 to

       19     plus 1.       It should say somewhere, I think, because you

       20     can see the formula.                 He uses 1 minus HR and then he

       21     uses HR.        Okay?        Internally, when he calculates, he

       22     uses a number between minus 1 to plus 1.                                 In -- for



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                                                                                           Page 125
        1             understand what everybody wants.

        2                     MR. TING:           Yes, for Acer.

        3                     MR. LEE:          I need to check with my client and

        4             get back to you on that, Jason.

        5                     THE REPORTER:              Very good.

        6                     MR. HOLOHAN:             Yes for us.

        7                     (Deposition adjourned at 12:45 p.m.)

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